Exhibit G
From: "Zack, Adrienne (USACAN)" <Adrienne.Zack@usdoj.gov>
Date: Wednesday, July 29, 2020 at 7:21 PM
To: Sean Riordan <SRiordan@aclunc.org>, Angelica Salceda <asalceda@aclunc.org>, "Beier,
Genna (PDR)" <genna.beier@sfgov.org>, "Ugarte, Francisco (PDR)"
<francisco.ugarte@sfgov.org>, Bree Bernwanger <bbernwanger@lccrsf.org>, Timothy Cook
<tcook@cooley.com>, Marty Schenker <mschenker@cooley.com>, Judah Lakin
<judah@lakinwille.com>, Amalia Wille <amalia@lakinwille.com>, "Maclean, Emilou (PDR)"
<emilou.maclean@sfgov.org>, Bill Freeman <wfreeman@aclunc.org>
Cc: "Choe, Shiwon (USACAN)" <Shiwon.Choe@usdoj.gov>, "Garbers, Wendy (USACAN)"
<Wendy.Garbers@usdoj.gov>, "Coleman, Susan E." <SColeman@bwslaw.com>
Subject: RE: Zepeda Rivas - COVID Testing Update

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   sources.



Counsel,

On July 28, 2020, Mesa Verde Staff Member #13 received a positive test for COVID-19. Staff Member
#13 is a GEO officer, and their last day at the facility was July 24, 2020. The officer is
asymptomatic. Their last shifts at the facility were on July 22, 23, and 24, and contact tracing shows that
during those shifts the officer did not have any close contact with any detainees.

Regards,
Adrienne

From: Zack, Adrienne (USACAN)
Sent: Tuesday, July 28, 2020 1:21 PM
To: Sean Riordan <SRiordan@aclunc.org>; Angelica Salceda <asalceda@aclunc.org>; Genna Beier
<genna.beier@sfgov.org>; Francisco Ugarte <francisco.ugarte@sfgov.org>; Bree Bernwanger
<bbernwanger@lccrsf.org>; Timothy Cook <tcook@cooley.com>; Marty Schenker
<mschenker@cooley.com>; Judah Lakin <judah@lakinwille.com>; Amalia Wille
<amalia@lakinwille.com>; Emilou Maclean <emilou.maclean@sfgov.org>; Bill Freeman
<wfreeman@aclunc.org>
Cc: Choe, Shiwon (USACAN) <SChoe@usa.doj.gov>; Garbers, Wendy (USACAN)
<wgarbers@usa.doj.gov>; Coleman, Susan E. <SColeman@bwslaw.com>
Subject: Zepeda Rivas - COVID Testing Update

Counsel,

On or about July 24, 2020, Yuba County Jail informed ICE that a second staff member has tested positive
for COVID-19. The facility conducted contact tracing, and it reported that there was no close contact
between Yuba Staff Member #2 and any detainees.
Regarding Mesa Verde Staff Member #12 – this nurse practitioner’s last day of work at the facility was
July 13, 2020. Staff Member #12 did not work on July 11 and 12, 2020. Contract tracing shows that they
had no close contact with detainees on July 13, 2020.

Regarding Mr. Bonilla-Solano – the COVID-19 specimen collected on July 22, 2020, resulted positive on
July 25, 2020. He remains in medical isolation and asymptomatic.

Regards,
Adrienne

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